         Case 1:11-cv-00098-FMA Document 29 Filed 04/15/11 Page 1 of 1




      In The United States Court of Federal Claims
                                            No. 11-98C

                                      (Filed: April 15, 2011)
                                            __________
 HALLMARK-PHOENIX 3, LLC,

                        Plaintiff,

         v.

 THE UNITED STATES,

                        Defendant.


                                            __________

                                             ORDER
                                            __________


        On April 14, 2011, plaintiff filed a motion for preliminary injunction. Based on its prior
discussions with the parties, the court’s understanding is that the parties agreed that the
jurisdictional issues in this case would be resolved before the court would consider any motions
seeking equitable relief. On or before, April 18, 2011, plaintiff shall file a statement with the
court explaining whether that is still its understanding or whether, instead, its filing of a motion
for preliminary injunction reflects either changed circumstances or, at least, a change in its
position regarding how this case should proceed. Following the receipt of this statement, the
court will issue an order setting a briefing schedule for plaintiff’s motion for preliminary
injunction.

       IT IS SO ORDERED.


                                                          s/ Francis M. Allegra
                                                          Francis M. Allegra
                                                          Judge
